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11:49 am, Jan 20 202                                                                          1:21-mj-146 TMD
ATBALTIMORE
CLERK,U.S.DISTRICTCOURT
DISTRICTOFMARYLAND
BY______________Deputy         AFFIDAVIT IN SUPPORT OF
                         CRIMINAL COMPLAINT AND ARREST WARRANT

     I, William Seested, being first duly sworn, hereby depose and state as follows:

             1.       Based on the facts set forth in this affidavit, I submit there is probable cause to

     believe that CODY WOLF GIDEON MOHR (MOHR), DOB xx/xx/1993, last registered

     address of 6522 Quiet Hours, Columbia, Maryland 21045, has violated Title 18 United States Code

     (USC) § 844(e). The statute reads, in part, “[w]hoever, through the use of . . . [an] instrument of

     interstate . . . commerce, . . . willfully makes any threat, . . . to . . . unlawfully damage or destroy

     any building . . . by means of . . . an explosive [shall be guilty of a crime].”       Therefore, your

     Affiant respectfully requests that this Complaint and Arrest Warrant be authorized.

                               INTRODUCTION AND AGENT BACKGROUND

             2.       I am a Special Agent (“SA”) with the Treasury Inspector General for Tax

     Administration (“TIGTA”) and have been since September 2014. I am a graduate of the Criminal

     Investigator Training Program at the Federal Law Enforcement Training Center as well as the

     TIGTA Special Agent Basic Training Academy. I am currently assigned to the Mid-Atlantic Field

     Division – New Carrollton, Maryland Office. I have received instruction and training, and have

     experience investigating threats and assaults towards the United States federal government and its

     employees. In the course of conducting or participating in criminal investigations, I have been

     involved in gathering and analyzing information, interviewing and debriefing witnesses and

     informants; conducting physical surveillance and collecting and analyzing evidence.

             3.       The facts in this affidavit come from my personal observations, my training and

     experience, and my review of documents and information obtained from other agents and




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witnesses. This affidavit is intended to show merely that there is probable cause for the requested

warrant and does not set forth all of my knowledge about this matter.

                                      PROBABLE CAUSE

       1.      Twitter is a social-networking company headquartered in San Francisco, CA.

Twitter owns and operates a free-access website of the same name and allows its users to create

and read messages called “tweets.” Twitter is an instrument of interstate commerce as that term

is used in 18 U.S.C. § 844(e).

       2.       On or around January 19, 2021, the TIGTA Criminal Intelligence and

Counterterrorism Division (CICD) conducted a routine review of publicly accessible social media

accounts in order to identify and prevent potential threats to the Internal Revenue Service (IRS)

and its employees. The review resulted in the identification of tweets on a Twitter page bearing

the username “Game 6 Osama” and moniker “@BonaFried” in which the user threatened the IRS

and federal employees, including political officials and law enforcement officers.

       3.      Among the tweets was a message dated on or around January 15, 2021 stating, “I

am going to explode the irs headquarters with a bomb.” Additional tweets on or around the same

date made in reference to this particular tweet stated, “I'm about to drop something else. On the irs

headquarters”; “Im gonna do it”; “I am simply announcing my intentions to give employees a fair

shot at escaping alive” and “It's probably just a matter of if you happen to get reported or not

(please don't report me).” On or around January 16, 2021, the user posted a tweet in response to

another Twitter user stating, “something’s gonna blow up.”

       4.      The user posted other tweets since on or around January 15, 2021 stating he was

“laser focused on thinking about ways to kill [Speaker of the House] Nancy Pelosi.” The user

further spoke about ways to obtain firearms, how easy it was to build semi-automatic rifle and



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about sending a picture to another Twitter user in which he placed a firearm in his mouth. The

user also stated it “[would be cool to] drive 80 mph into a million people,” and that, “…if a cop

pulls you over for something minor like speeding or a busted tail light, you can just threaten his

life and he’ll let you go with no trouble.”

       5.       Further review of the account noted the user wrote, “I’m Cody I’m from Maryland.”

Twitter reflected the user joined Twitter in December 2010, and that he is are 27 years old.

       6.       TIGTA CICD requested an emergency disclosure of the subscriber information for

the @BonaFried account from Twitter on or around January 19, 2021, which identified the user of

the account as MOHR. An emergency petition was made because the IRS Headquarters is located

in Zone 9 of the National Security Special Event Area for the upcoming 2021 Presidential

Inauguration.

       7.       In addition to his name, the information returned from Twitter stated MOHR

registered for the account on or around December 25, 2010. While registering for the account,

MOHR listed his email address as cody.mohr@gmail,com, and his telephone number as 1-443-

422-4466. A registration Internet Protocol (IP) address was listed as 166.203.58.149.

       8.       Twitter additionally provided a listing of IP addresses used during recent logins to

the account between the dates of on or around January 17, 2021 and January 19, 2021. On or

around January 19, 2021, your Affiant utilized an IP address search engine that revealed the

majority of the account logins occurred in the area in or around Columbia, Maryland, using an

Internet Service Provider (ISP) identified as Verizon, Inc.

       9.       Based on the information received from Twitter, your Affiant conducted additional

investigative queries on or around January 19, 2021 which revealed MOHR likely resides at 6522

Quiet Hours, Columbia, Maryland, 21045 and owns and 2014 Mazda3, bearing Maryland license



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plate 6CZ1566. On or around the same date, your Affiant attempted to locate MOHR’s vehicle

in or around the Columbia, Maryland area. The vehicle was located at approximately 9:30 pm

parked in front of 5490 Mystic Court, Columbia, Maryland 21044, which is believed to be the

residence of an immediate family member.

       10.     Your Affiant obtained a driver’s license photograph of MOHR from the National

Law Enforcement Telecommunications System (NLETS) on or around January 19, 2021. That

photograph appeared to closely match a photograph of a Caucasian male in his late twenties posted

to the @BonaFried Twitter account on or around January 11, 2021.

                                        CONCLUSION

Based on the facts set forth herein, there is probable cause to believe that MOHR committed

violations of 18 U.S.C § 844(e).

       11.     I affirm under penalty of perjury that the facts and circumstances outlined in the

affidavit are true and accurate to the best of my knowledge and belief.

                                                    Respectfully submitted,



                                                    William
                                                        iam Seested, Special Agent
                                                                             Agen
                                                    Treasury Inspector General for Tax
                                                    Administration (TIGTA)




               Affidavit submitted by email and attested to me as true and accurate by telephone

consistent with Fed. R. Crim. P. 4.1 and 4(d) this ____ day of January 2021.



 _________________________________________
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 Honorable
 H           Thomas M
         bll Th     M. DiGi
                        DiGirolamo
                              l
 United States Magistrate Judge
 District of Maryland

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